      Case 2:19-cv-11149-LMA-DMD Document 81 Filed 03/10/20 Page 1 of 2



                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

REC MARINE LOGISTICS, LLC        §                   C.A. NO. 2:19-cv-11149-LMA-DMD
                                 §
V.                               §
                                 §
DEQUINCY R. RICHARD              §                   SEC. “I”           MAG. (3)
                                 §
V.                               §
                                 §
REC MARINE LOGISTICS, LLC,       §
GULF OFFSHORE LOGISTICS LLC and  §
OFFSHORE TRANSPORT SERVICES, LLC §

                           RICHARD’S NOTICE OF
             REC MARINE’S NON-COMPLIANCE WITH COURT ORDERS

       COMES NOW, DeQuincy R. Richard (“Richard”), made Defendant in this Declaratory

Judgment action and Counter/Third-Party Plaintiff, and hereby provides notice of REC Marine’s

and its counsel’s failure to comply with Court Orders, specifically:

       Rec. Doc. 68, Order compelling REC Marine’s counsel to pay attorney’s fees to

Richard’s counsel by March 5, 2020. These fees have not been paid.

       Rec. Doc. 72, Order compelling REC Marine to provide Richard with the expert report of

Dr. Casey within three weeks of Dr. Casey’s examination of Richard. The examination took

place on February 12, 2020; no report has been produced.

                                             Signature follows–
      Case 2:19-cv-11149-LMA-DMD Document 81 Filed 03/10/20 Page 2 of 2



                                            Respectfully submitted,

                                            /s/ Eric J. Rhine
                                            Eric J. Rhine
                                            Texas SBN 24060485 (admitted pro hac vice)
                                            erhine@spaglaw.com
                                            SPAGNOLETTI LAW FIRM
                                            401 Louisiana Street, 8th Floor
                                            Houston, Texas 77002
                                            Telephone: 713.653.5600
                                            Facsimile: 713.653.5656

                                            R. Joshua Koch, Jr., Bar Roll No. 7767
                                            Katherine W. Lynch, Bar Roll No. 36726
                                            KOCH & SCHMIDT, LLC
                                            650 Poydras Street, Suite 2660
                                            New Orleans, Louisiana 70130
                                            Telephone: 504.208.9040
                                            Facsimile: 504.208.9041

                                            Attorneys for DeQuincy Richard


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that service of the foregoing automatically accomplished on all
counsel of record for through CM/ECF Notice of Electronic Filing at the time of filing hereof on
this 10th day of March, 2020, in accordance with the Federal Rules of Civil Procedure.


                                            /s/ Eric J. Rhine
                                            Eric J. Rhine




                                               2
